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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                       OCALA DIVISION

 In Re: Don Karl Juravin

 DON KARL JURAVIN,

                          Appellant,

 v.                                                            Case No: 5:23-cv-138-GAP

 DENNIS D. KENNEDY,

                          Appellee



                                              ORDER
           This cause came on for consideration without oral argument on the Motion

 for Sanctions filed by the Appellee and Chapter 7 Trustee Dennis D. Kennedy

 (“Trustee”) (Doc. 22). Appellant Don Karl Juravin (“Juravin”) has failed to timely

 file a response; therefore, the Motion is subject to treatment as unopposed. See M.D.

 Fla. Local Rule 3.01(c).

      I.        Background

           This appeal arises from the Bankruptcy Court’s approval of a settlement

 agreement reached pursuant to the Chapter 7 bankruptcy proceedings for Juravin

 and a company that he is affiliated with, Must Cure Obesity, Co. (“MCO”). 1 See



           1   See 6:18-bk-6821-LVV (“Juravin’s Bankruptcy Case”) and 6:20-bk-1801-LVV (“MCO’s
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 Doc. 9-1 at 1-34. In November of 2022, the Trustee and American Express Company

 (“AMEX”) reached a settlement resolving claims brought pursuant to Juravin and

 MCO’s Bankruptcy Cases. See id. at 43-47. Over Juravin’s objection, the Bankruptcy

 Court issued an Order granting the Trustee’s motion to approve this settlement

 pursuant to Bankruptcy Rule 9019. See id. at 35-57. Juravin appealed after the

 Bankruptcy Court denied his Motion for Reconsideration and overruled his

 Amended Objection to the settlement. See id. at 58-75; see also Docs. 1, 15-14.

       This Court affirmed the Bankruptcy Court without reaching the merits of

 Juravin’s appeal because Juravin lacked standing. Doc. 16. Additionally, the Court

 ordered Juravin to show cause why it should not impose sanctions pursuant to

 Federal Rule of Bankruptcy Procedure 8020 due to his frivolous appeal. Id. at 7.

 Juravin failed to timely file a response to the Court’s Show Cause Order; he instead

 appealed this Court’s Memorandum Opinion and Order to the Eleventh Circuit

 Court of Appeals. Doc. 18. In the interest of judicial economy, the Court

 administratively closed this case while Juravin’s Eleventh Circuit appeal was

 pending, and it directed the Trustee to file a motion for sanctions, if sanctions

 remained appropriate, after the Eleventh Circuit issued its mandate. Doc. 21.

       The Trustee timely filed the instant Motion for Sanctions after the Eleventh




 Bankruptcy Case”).




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 Circuit dismissed Juravin’s appeal for want of prosecution. Doc. 22; see also Doc. 25.

 In his Motion, the Trustee asks the Court: (1) to award him the attorneys’ fees and

 costs that he incurred in defending this appeal (in the amount of $5,587.00) and (2)

 to declare Juravin “a vexatious litigant and limit his ability to initiate further appeals

 from his underlying Bankruptcy Case by establishing a procedure consistent

 with . . . In re: Vexatious Litigants in the Orlando Division, 6:23-mc-03-RBD.”2

    II.       Legal Standard

          The Trustee moves for sanctions pursuant to Federal Rule of Bankruptcy

 Procedure 8020 (“Rule 8020”). Rule 8020 “permits a court to impose sanctions on an

 appellant if it determines that an appeal from a bankruptcy order is frivolous.” West

 v. Chrisman, 518 B.R. 655, 667 (M.D. Fla. 2014). In evaluating whether sanctions are

 appropriate under Rule 8020, courts consider whether there is “‘bad faith on the

 part of the appellant’ and ‘whether appellant’s argument: addresses the issues on

 appeal properly; fails to support the issues on appeal; fails to cite any authority;

 cites inapplicable authority; makes unsubstantiated factual assertions; makes bare

 legal conclusions; or, misrepresents the record.’” In re Land Resource, LLC, 6:12-cv-

 961, 2013 WL 950690, at *1 (M.D. Fla. March 12, 2013) (quoting In re Maloni, 282 B.R.


          The Trustee additionally notes that, on January 16, 2024, the Bankruptcy Court “granted
          2

 the Trustee’s Motion to Declare Debtor a Vexatious Litigant and for Martin-Trigona Injunction
 (Doc. No. 952) in open Court.” Doc. 22. He argues that “it would likewise be appropriate for this
 Court to designate Juravin a vexatious litigant and to restrict the filing of new appeals stemming
 from Juravin’s Bankruptcy Case.” Id.




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 727, 734 (1st Cir. 2002)).

    III.   Analysis

       Again, sanctions are undoubtably warranted against Juravin for this

 frivolous appeal. As the Court stated in its Memorandum Opinion and Order,

 “Juravin’s instant appeal constitutes another ‘abusive and frivolous filing’

 stemming from his underlying bankruptcy proceeding in 6:18-bk-06821-LVV.”

 Doc. 16 at 6 n.5 (citing In re: Vexatious Litigants in the Orlando Division, 6:23-mc-03-

 RBD, at 1). The Court gave Juravin ample opportunity to contest the Trustee’s

 Motion for Sanctions and his fees calculation; however, Juravin never responded to

 the Motion or the Court’s Orders. See Doc. 24. On review of the Trustee’s calculation

 and his counsel’s affidavit itemizing his fees, the Court finds that the Trustee’s fees

 are reasonable. See Doc. 22 at 8-15. Consequently, Juravin will be ordered to pay the

 Trustee’s attorneys’ fees and costs, in the amount of $5,587.00. See Doc. 22 at 8-15.

       As noted above, the Trustee has also asked this Court to declare Juravin a

 vexatious litigant and limit his ability to file additional appeals. Although this Court

 has repeatedly warned Juravin that it is “authorized to restrict access to vexatious

 and abusive litigants,” Juravin’s incessant frivolous appeals have not ceased. See In

 re: Vexatious Litigants in the Orlando Division, 6:23-mc-03-RBD, at 1 (quoting Brewer

 v. United States, 614 F. App’x 426, 427 (11th Cir. 2015)); see also 6:20-cv-2117-PGB;

 6:21-cv-1921-GAP;       6:21-cv-1922-GAP;       5:22-cv-606-GAP;     5:23-cv-138-GAP;



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 5:23-cv-164; 5:23-cv-166-GAP; 5:23-mc-7-GAP. As a result, the Court will restrict

 Juravin’s appellate access to this Court, in an effort to curb his vexatious and

 abusive practices and to prevent him from unnecessarily encroaching on the judicial

 machinery needed by others.

    IV.   Conclusion

       Accordingly, it is hereby ORDERED that:

    1. The Motion for Sanctions filed by Appellee and Chapter 7 Trustee Dennis D.

       Kennedy (Doc. 22) is GRANTED.

    2. Sanctions are imposed against Appellant Don Karl Juravin pursuant to

       Federal Rule of Bankruptcy Procedure 8020.

    3. Appellant Don Karl Juravin is liable to Appellee and Chapter 7 Trustee

       Dennis D. Kennedy for his reasonable attorneys’ fees.

    4. The Clerk is directed to enter judgment for Appellee and Chapter 7 Trustee

       Dennis D. Kennedy and against Appellant Don Karl Juravin in the amount of

       $5,587.00.

    5. Appellant Don Karl Juravin is designated as a vexatious litigant and is hereby

       restricted from filing additional appeals from his underlying bankruptcy

       proceeding in 6:18-bk-06821-LVV. Any further appeal filed by Don Karl

       Juravin in either the Ocala Division or the Orlando Division will be assigned

       to and reviewed by the undersigned.



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    6. The Clerk is directed to close this appeal.

       DONE and ORDERED in Chambers, Orlando, Florida on April 22, 2024.




 Copies furnished to:

 Counsel of Record
 Unrepresented Party




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